

ORDER

PER CURIAM:
AND NOW, this 16th day of August, 1995, Alvin J. Arnett having been disbarred from the practice of law in the State of Maryland by Order of the Court of Appeals of Maryland dated December 20, 1994; the said Alvin J. Arnett having been directed on June 19,1995, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Alvin J. Arnett is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
